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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 24-cv-60984- Augustin-Birch
                                        [Consent Case]
  MELINDA MICHAELS,

         Plaintiff,

  v.

  SEAWATER PRO LLC, and
  MICHAEL SPANOS A/K/A MIKE SPANOS,

        Defendants.
  ______________________________________/

                  JOINT DISCOVERY STATUS REPORT AND MOTION
                    TO CANCEL DISCOVERY STATUS CONFERENCE
                OR IN THE ALTERNATIVE REVISE SCHEDULING ORDER

         Plaintiff Melinda Michaels, Defendants SeaWater Pro LLC and Michael Spanos, by and

  through their undersigned counsel, respectfully submit this Joint Discovery Status Report, and

  submit their Motion to cancel the Discovery Status Conference set pursuant to the Court’s

  Paperless Order Resetting Discovery Status Conference [DE 48], and in support state the

  following:

  1.     A Discovery Status Conference was originally set for today, Friday March 28, 2025 [DE

         47], and subsequently re-set by the Court for Tuesday, April 1, 2025 [Paperless Order DE

         48].

  2.     Plaintiff’s counsel has a scheduling conflict on April 1, 2025, that renders him unavailable

         to attend the Status Conference; specifically, a trial date certain beginning on March 31,

         2025, that will span approximately 3-4 days.

  3.     Defendants’ counsel has a scheduling conflict on April 7-18, 2025, that renders him

         unavailable to attend the Status Conference; specifically, a trial during that trial period.



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  4.    Plaintiff and Defendants are available for a Status Conference on April 21, 2025,

        however after communicating with Chambers, they were instructed the Court was

        unavailable on that date.

  5.    Plaintiff’s counsel has a scheduling conflict from April 22, 2025 – April 30, 2025, that

        renders him unavailable for those dates; specifically, three arbitrations in front of the

        American Arbitration Association, spanning back-to-back.

  6.    Discovery Cutoff is May 1, 2025, pursuant to the Order Amending Trial and Pretrial

        Schedule [DE 47].

  7.    All depositions have been completed including Plaintiff, Defendant and the Defendant as

        30(b)(6) corporate representative of SeaWater Pro LLC.

  8.    The exchange of written discovery requests has been completed, and any outstanding

        discovery disputes will be resolved prior to May 1, 2025, deadline.

  9.    To this date, the only outstanding discovery are documents responsive to subpoenas issued

        by Defendants to third parties, which have not yet been produced.

  10.   Should the Court require the Discovery Status Conference to proceed, the parties have

        conferred with Chambers, and propose that the conference be reset to May 1, 2025, as that

        is the first date where the parties and Court are available.

  11.   Where May 1, 2025 is the discovery cutoff, the parties move the Court to extend and revise

        the Discovery Deadline through June 1, 2025 as well as the Pretrial Motion deadline,

        including summary judgment motions, Daubert motions, and motions and limine through

        July 1, 2025 accordingly.

  12.   The Parties submit that good cause exists to grant the extensions and revisions to this

        schedule. Federal Rule of Civil Procedure 6(b)(1) states that when a deadline exists for a




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         party to act, the court “for cause shown may at any time in its discretion with or without

         motion or notice order the period enlarged if request thereof is made before the expiration

         of the period originally prescribed or as extended by previous order.” The requested

         extensions are required due to the trial calendars of counsel. Moreover, as indicated by

         the joint nature of this motion, the Parties have conferred and are in agreement regarding

         the requested extensions and revisions to the schedule.

  13.    For these reasons, the Parties respectfully request that the Court enter the attached

         proposed order granting the Parties’ Joint Motion to Cancel the Discovery Status

         Conference or in the alternative, Extend Discovery and Pretrial Motion Deadlines, let all

         other deadlines remain, and grant such other further relief as the Court deems necessary.

         WHEREFORE, the parties respectfully request the Court cancel the April 1, 2025,

  Discovery Status Conference.

  Respectfully Submitted,

  Dated: March 28, 2024

  /s/Dillon S. Cuthbertson                             /s/ Patrick Brooks LaRou
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